                       Case 19-11915-BLS                        Doc 1           Filed 08/30/19            Page 1 of 14

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 ____________________ District of Delaware
                                  _________________
                                       (State)
 Case number    (If known): _________________________                 11 
                                                            Chapter _____                                                                     Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name an d the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          RAIT Funding, LLC (fka Taberna Funding LLC)
                                           ______________________________________________________________________________________________________



                                           ______________________________________________________________________________________________________
2.   All other names debtor used
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
     trade names, and doing business       ______________________________________________________________________________________________________
     as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer
                                             XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                      Principal place of business
                                                                                                         Mailing address, if different from principal place
                                                                                                         of business
                                           Two Logan Square
                                           ______________________________________________
                                           Number     Street                                             _______________________________________________
                                                                                                         Number      Street
                                           100 N. 18th Street, 23rd Floor
                                           ______________________________________________
                                                                                                         _______________________________________________
                                                                                                         P.O. Box
                                           Philadelphia                PA         19103
                                           ______________________________________________
                                           City                             State      ZIP Code
                                                                                                         _______________________________________________
                                                                                                         City                       State     ZIP Code

                                                                                                         Location of principal assets, if different from
                                           Philadelphia
                                           ______________________________________________                principal place of business
                                           County
                                                                                                         _______________________________________________
                                                                                                         Number      Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                       State     ZIP Code


5.   Debtor’s website (URL)                www.rait.com
                                           ____________________________________________________________________________________________________


                                            X     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.   Type of debtor
                                                  Partnership (excluding LLP)
                                                  Other. Specify: __________________________________________________________________



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      Debtor RAIT Funding, LLC (fka Taberna Funding LLC)                                            Case Number   (if known)

               Name


7.    Describe debtor’s business            A. Check one:

                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A)

                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  Railroad (as defined in 11 U.S.C. § 101(44))

                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            X     None of the above



                                         B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                5259

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
                                                Chapter 7
      debtor filing?
                                                Chapter 9

                                        X Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                  affiliates) are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3
                                                                  years after that).

                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                                  small business debtor, attach the most recent balance sheet, statement of operations,
                                                                  cash-flow statement, and federal income tax return or if all of these documents do not
                                                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).

                                                              X   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                                  and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of
                                                                  1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                  under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                                Chapter 12

9.    Were prior bankruptcy cases       X       No
      filed by or against the debtor            Yes      District _______________________ When _______________            Case number ________________________
      within the last 8 years?                                                                    MM/DD/YY

      If more than 2 cases, attach a                     District _______________________ When _______________            Case number ________________________
      separate list.                                                                              MM/DD/YY

10.   Are any bankruptcy cases                  No
      pending or being filed by a
                                        X       Yes              See Schedule 1
                                                         Debtor _____________________________________________             Relationship _________________________
      business partner or an
      affiliate of the debtor?                           District _____________________________________________                When _______________
      List all cases. If more than 1,                                                                                                   MM/DD/YY
      attach a separate list.                            Case number, if known _________________________________




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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        Debtor RAIT Funding, LLC (fka Taberna Funding LLC)                                         Case Number   (if known)

                Name




11.   Why is the case filed in this      Check all that apply:
      district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          X A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


      Does the debtor own or have X
12.
      possession of any real
                                    No
      property or personal property    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate
      attention?                            Why does the property need immediate attention? (Check all that apply.)

                                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                           What is the hazard? _____________________________________________________________________

                                                           It needs to be physically secured or protected from the weather.

                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                           Other _______________________________________________________________________________



                                                        Where is the property?_____________________________________________________________________
                                                                                    Number         Street

                                                                                    ____________________________________________________________________
                                                                                    _______________________________________          _______     ________________
                                                                                    City                                             State       ZIP Code


                                                        Is the property insured?
                                                          No
                                                           Yes. Insurance agency ____________________________________________________________________

                                                                 Contact name       ____________________________________________________________________

                                                                 Phone              ________________________________




             Statisticaland
             Statistical andAdministrative
                             administrative   information
                                           Information on a Consolidated Basis



13. Debtor’s   estimation of             Check one:
      available funds                   X    Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             11-49
                                                 49                                 1,000-5,000
                                                                                     1,0                                     X   25,001-50,000
                                                                                                                                  25,
14.   Estimated number of
                                              50-99 
                                              50                                     5,001-10,000 
                                                                                     5,0                                          50,001-100,000
                                                                                                                                  50,
      creditors
                                              100-199 
                                              100                                    10,001-25,000                                More than 100,000
                                              200-999

                                              $0-$50,000 
                                              $0                                     $1,000,001-$10
                                                                                     $1,            million                       $500,000,001-$1
                                                                                                                                  $50               billion
15. Estimated    assets                       $50,001-$100,000 
                                              $50                                    $10,000,001-$50 million
                                                                                     $10                                          $1,000,000,001-$10 billion
                                                                                                                                  $1,
                                              $100,001-$500,000 
                                              $10                                    $50,000,001-$100 million
                                                                                     $50                                           $10,000,000,001-$50 billion
                                                                                                                                   $10
                                              $500,001-$1 million              X    $100,000,001-$500 million                    More than $50 billion




  Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 3
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                                                Schedule 1

               Pending Bankruptcy Cases Filed by Debtor and Affiliates of Debtor
                  Schedule 1 - sub 1
               On the date hereof, each of the affiliated entities listed below, including the debtor in
this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”).
A motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered, pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to the
chapter 11 case of RAIT Financial Trust.


                                       Debtor                                         Tax ID #
     1      RAIT Financial Trust                                                     XX-XXXXXXX
     2      RAIT Funding, LLC (fka Taberna Funding LLC)                              XX-XXXXXXX
     3      RAIT General, Inc.                                                       XX-XXXXXXX
     4      RAIT JV TRS Sub, LLC                                                     XX-XXXXXXX
     5      RAIT JV TRS, LLC                                                         XX-XXXXXXX
     6      RAIT Limited, Inc.                                                       XX-XXXXXXX
     7      Taberna Realty Finance Trust                                             XX-XXXXXXX




                                          Schedule 1 - Page 1
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      Fill in this information to Identify the case:

      Debtor Name: RAIT Financial Trust, et al.
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                   amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 20 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction          Unsecured
                                                                                                                    partially secured      for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       WELLS FARGO BANK, NATIONAL           CONTACT: MOLLY ANN             7.125% SENIOR                                                                     $66,529,722.00
          ASSOCIATION                          BREFFITT, CCTS                 UNSECURED NOTES
          CORPORATE TRUST RELATIONSHIP         PHONE: 302-575-2010
          MANAGER                              FAX: 877-302-6619
          919 NORTH MARKET STREET              MOLLY.A.BREFFITT@WELLSF
          SUITE 1600, FL 7                     ARGO.COM
          WILMINGTON, DE 19801
  2       WELLS FARGO BANK, NATIONAL           CONTACT: MOLLY ANN             7.625% SENIOR                                                                     $56,865,250.00
          ASSOCIATION                          BREFFITT, CCTS                 UNSECURED NOTES
          CORPORATE TRUST RELATIONSHIP         PHONE: 302-575-2010
          MANAGER                              FAX: 877-302-6619
          919 NORTH MARKET STREET              MOLLY.A.BREFFITT@WELLSF
          SUITE 1600, FL 7                     ARGO.COM
          WILMINGTON, DE 19801
  3       THE BANK OF NEW YORK MELLON          CONTACT: NANCY R.     JUNIOR                                                                                     $25,201,595.00
          500 ROSS STREET, 12TH FLOOR          JOHNSON               SUBORDINATED
          PITTSBURGH, PA 15262                 PHONE: 412-236-3139   NOTE GUARANTY
                                               FAX: 412-234-8377
                                               NANCY.R.JOHNSON@BNYME
                                               LLON.COM
  4       WELLS FARGO BANK, NATIONAL           CONTACT: MOLLY ANN      JUNIOR                            U             $18,670,743.00          UNKNOWN               UNKNOWN
          ASSOCIATION                          BREFFITT, CCTS          SUBORDINATED
          CORPORATE TRUST RELATIONSHIP         PHONE: 302-575-2010     NOTE
          MANAGER                              FAX: 877-302-6619
          919 NORTH MARKET STREET              MOLLY.A.BREFFITT@WELLSF
          SUITE 1600, FL 7                     ARGO.COM
          WILMINGTON, DE 19801




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                          Page 1
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Fill in this information to identify the case:

Debtor name: RAIT Funding, LLC (fka Taberna Funding LLC)
                                                               Delaware
United States Bankruptcy Court for the: _________ District of __________
                                                                (State)
Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                       12/15

An individual who is authorized to act on behalf of a non -individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonm ent for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature

   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partne rship; or
   another individual serving as a representative of the debtor in this case.

   I have examined the information in the documents checked below and I have a reasonable belief that the information is true an d
   correct:
   ! Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
   ! Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   !     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   !     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   !     Schedule H: Codebtors (Official Form 206H)
   !     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   !     Amended Schedule ____
   ü
   !    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
        Form 204)
   ! Other document that requires a declaration
   I declare under penalty of perjury that the foregoing is true and correct.

                   August 30, 2019
   Executed on
                     MM / DD / YYYY              㻌   /s/ John J. Reyle
                                                     Signature of individual signing on behalf of debtor
                                                     John J. Reyle
                                                     Printed name
                                                     CEO, President and General Counsel
                                                     Position or relationship to debtor
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    In re:
                                                                                         Chapter 11

                  RAIT FUNDING, LLC                                                      Case No. 19-_____(___)
             (FKA TABERNA FUNDING LLC)1,

                                  Debtor.

                                    CORPORATE OWNERSHIP STATEMENT


      Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of
Bankruptcy Procedure, the Debtor submits the following information:

The following entities indirectly own 10% or more of any class of equity interests of the Debtor:

    Name and Address of Corporate Equity Holder                                                                          Interest
    RAIT Financial Trust                                                                                                 100%
    Two Logan Square
    100 N. 18th Street, 23rd Floor
    Philadelphia, PA 19103

    RAIT Limited, Inc.                                                                                                   89.1%
    Two Logan Square
    100 N. 18th Street, 23rd Floor
    Philadelphia, PA 19103

    RAIT Asset Holdings, LLC                                                                                             90%
    Two Logan Square
    100 N. 18th Street, 23rd Floor
    Philadelphia, PA 19103

    Taberna Realty Finance Trust                                                                                         10%
    Two Logan Square
    100 N. 18th Street, 23rd Floor
    Philadelphia, PA 19103

    RAIT JV TRS, LLC                                                                                                     100%
    Two Logan Square
    100 N. 18th Street, 23rd Floor
    Philadelphia, PA 19103




1        The Debtor’s address is as follows: Two Logan Square, 100 N. 18th Street, 23rd Floor, Philadelphia, PA 19103.
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The following entities directly own 10% or more of any class of equity interests of the Debtor:

 Name and Address of Corporate Equity Holder                                        Interest
 RAIT JV TRS Sub, LLC                                                               100%
 Two Logan Square
 100 N. 18th Street, 23rd Floor
 Philadelphia, PA 19103




                                                2
                           Case 19-11915-BLS                         Doc 1           Filed 08/30/19        Page 14 of 14


Fill in this information to identify the case:

Debtor name: RAIT Funding, LLC (fka Taberna Funding LLC)
                                                               Delaware
United States Bankruptcy Court for the: _________ District of __________
                                                                (State)
Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                       12/15

An individual who is authorized to act on behalf of a non -individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonm ent for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature

   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partne rship; or
   another individual serving as a representative of the debtor in this case.

   I have examined the information in the documents checked below and I have a reasonable belief that the information is true an d
   correct:
   ! Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
   ! Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   !     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   !     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   !     Schedule H: Codebtors (Official Form 206H)
   !     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   !     Amended Schedule ____
   !    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
        Form 204)
   ü Other document that requires a declaration
   !                                                        Corporate Ownership Statement

   I declare under penalty of perjury that the foregoing is true and correct.

                   August 30, 2019
   Executed on
                     MM / DD / YYYY              㻌   /s/ John J. Reyle
                                                     Signature of individual signing on behalf of debtor
                                                     John J. Reyle
                                                     Printed name
                                                     CEO, President and General Counsel
                                                     Position or relationship to debtor
